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CO-COUNSEL FOR FORMER EMPLOYEES1 AND CPCM, LLC

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                        Chapter 11

HIGHLAND CAPITAL MANAGEMENT, L.P,2 Case No. 19-34054-sgj11

                  Debtor.


                         NOTICE OF CHANGE OF NAME OF LAW FIRM

         PLEASE BE ADVISED that as of January 3, 2023, our name changed to the following:

                                         Ross, Smith & Binford, PC

      PLEASE BE FURTHER ADVISED that as of January 9, 2023, our email addresses have
changed to the following:

                 Judith W. Ross’ new email address: judith.ross@rsbfirm.com
               Frances A. Smith’s new email address: frances.smith@rsbfirm.com
                Jason Binford’s new email address: jason.binford@rsbfirm.com
               Eric Soderlund’s new email address: eric.soderlund@rsbfirm.com




1 The Former Employees are Scott Ellington, Isaac Leventon, J.P. Sevilla, Katie Lucas, Matt D’Orio, and Stephanie
Vitiello.
2 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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               Jessica Lewis’ new email address: jessica.lewis@rsbfirm.com

Our address, telephone numbers, and facsimile numbers remain the same.

       Upon receipt, please update your records. Thank you for your assistance.

Dated: January 13, 2023                      Respectfully submitted,

                                             ROSS, SMITH & BINFORD, PC

                                             By:   /s/ Frances A. Smith
                                             Frances A. Smith (State Bar No. 24033084)
                                             Eric Soderlund (State Bar No. 24037525)
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                                             CO-COUNSEL FOR FORMER EMPLOYEES
                                             AND CPCM, LLC

                                CERTIFICATE OF SERVICE

        I certify that on January 13, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
District of Texas.

                                                    /s/ Frances A. Smith
                                                    Frances A. Smith




NOTICE OF CHANGE OF NAME OF LAW FIRM                                                        Page 2
